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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

 ONTARIO TEACHERS’ PENSION PLAN BOARD,                    :
 Individually and as Lead Plaintiff on behalf of all      :
                                                          :   No. 3:17-cv-00558 (SRU)
 others similarly situated; and
                                                          :
 ANCHORAGE POLICE & FIRE RETIREMENT                       :
 SYSTEM, Individually and as Named Plaintiff on           :   Class Action
 behalf of all similarly-situated bond purchasers,        :
           Plaintiffs,                                    :
                                                          :
                   v.                                     :
                                                          :
 TEVA PHARMACEUTICAL INDUSTRIES LTD.;                     :
 EREZ VIGODMAN; EYAL DESHEH; SIGURDUR                     :
 OLAFSSON; DEBORAH GRIFFIN; AND TEVA                      :
 PHARMACEUTICAL FINANCE NETHERLANDS                       :
 III B.V.,                                                :
                                                          :
           Defendants.                                    :   January 3, 2020


                           DEFENDANTS’ UNOPPOSED MOTION TO
                         EXTEND RESPONSIVE PLEADING DEADLINE

        In accordance with Local Rule 7(b), Defendants Teva Pharmaceutical Industries Ltd., Erez

Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah Griffin, and Teva Pharmaceutical Finance

Netherlands III B.V., respectfully file this motion to extend the deadline for the parties to this

Action to respond to Plaintiffs’ Second Amended Complaint by three weeks from Monday,

January 6, 2020 to Monday, January 27, 2020. In support of this motion, Defendants state as

follows:

        1.        On December 13, 2019, Plaintiffs filed the Second Amended Complaint. (ECF No.

310.)

        2.        Before the Second Amended Complaint was filed, this Court had granted

Defendants’ motion to extend the responsive pleading deadline until January 6, 2020. (ECF No.


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306.)

        3.     In accordance with Federal Rule of Civil Procedure 15(a)(3), Defendants’ deadline

for responding to the Second Amended Complaint is January 6, 2020, because that was the later

of fourteen days or the time remaining to respond to the original pleading.

        4.     Meanwhile, also on December 13, 2019, Plaintiffs and Defendants jointly moved

to consolidate this Action with all related Actions currently pending in this District, given the

substantial overlap in facts and legal claims presented in the cases (the “Joint Motion”). (ECF No.

311.)

        5.     The Joint Motion proposes a schedule for responsive pleadings and discovery for

all actions. (Id. at 4-5.) One request made in the Joint Motion was for the Court to allow

Defendants to have forty-five (45) days, or until, January 27, 2020 to respond to the Second

Amended Complaint.

        6.     Though the instant request seeks the same relief as the request set forth in the Joint

Motion respecting the time to respond to the Second Amended Complaint, Defendants

nevertheless file this standalone motion seeking an extension of time for the responsive pleading

deadline out of an abundance of caution.

        7.     For the reasons set forth in the Joint Motion, there is good cause for the requested

extension of the responsive pleading deadline. There is also good cause in light of the volume of

allegations in the Second Amended Complaint, which require time to investigate and to prepare a

response.    Without the extension, the current deadline cannot reasonably be met despite

Defendants’ diligence.

        8.     This is Defendants’ first request to extend the deadline to respond to the Second

Amended Complaint, and the proposed extension will neither cause excessive delay nor unduly



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prejudice the parties in the litigation.

        9.      Defendants’ counsel has conferred with counsel for Plaintiffs, who do not object to

the relief requested herein.

        WHEREFORE, Defendants respectfully request that the Court grant this motion and set

January 27, 2020 as the deadline for Defendants’ response to the Second Amended Complaint,

together with such other and further relief as the Court deems appropriate.

                                                     Respectfully submitted,


                                                     /s/ Jill M. O’Toole
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                                                     Counsel for Defendants Teva
                                                     Pharmaceutical Industries Limited, Erez
                                                     Vigodman and Eyal Desheh

                                                     – and –

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